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                    IN THE UNITED STATES DISTRICT COURT FOR THE                     n     —-
                              EASTERN DISTRICT OF VIRGINIA                   jp ,                /? |
                                       Alexandria Division                     j 4Rf?
                                                                                  |   g p /jj
UNITED STATES OF AMERICA                        )                        L                           '
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               V.                               )    CaseNo. I:19-nij-j8&
                                                )
DAVID POTTER,

               Defendant.


AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARRREST WARRANT


       I, Jeffrey A. Fuller, being duly sworn, depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND


       1.      I am a Special Agent with the Federal Bureau of Investigation (the "FBI")and

have been so employed for the last 14 years. As such, I am an "investigative or law enforcement

officer ofthe United States" within the meaning of 18 U.S.C. § 2510(7).

       2.      Since May 2016,1 have been assigned to the FBI's office at Washington Dulles

International Aiiport("Dulles Airport"), which is located in Loudoun County, Virginia, within

the Eastem District of Virginia. There, I primarily investigate violations offederal law that

occur within the airport or onboard aircraft.

       3.      This affidavit is submitted in support of a criminal complaint and arrest warrant

charging DAVID POTTER with interference with flight crew members and attendants, in

violation of49 U.S.C. § 46504.

       4.      The facts and information contained in this affidavit are based upon my personal

knowledge ofthe investigation and information obtained from other law enforcement officers.

All observations not personally made by me were relayed to me by the individuals who made
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them or are based on my review ofreports, documents, and other physical evidence obtained

during the course ofthis investigation.

       5.      This affidavit contains information necessary to support probable cause and has

been prepared only for the purpose ofobtaining a criminal complaint and arrest warrant.

Therefore, it contains neither all ofthe information known to me concerning the offense nor

every fact learned by the government during the course ofits investigation thus far.

                           SPECIAL AIRCRAFT JURISDICTION


       6.      It is unlawful for an individual on an aircraft in the special aircraft jurisdiction of

the United States to, by assaulting or intimidating a flight crew member or flight attendant ofthe

aircraft, interfere with the performance ofthe duties ofthe member or attendant or lessen the

ability ofthe member or attendant to perform those duties, or to attempt to do the same. See 49

U.S.C. § 46504.

       7.      The special aircraft jurisdiction ofthe United States includes a civil aircraft ofthe

United States while it is in flight. See id. § 46501(2)(A).

       8.      A "civil aircraft ofthe United States" is an aircraft, like those operated by

common carriers, that is registered under chapter 441 of Title 49 ofthe United States Code. See

id. § 40102(a)(17).

       9.      An aircraft is "in flight" from the moment when all external doors are closed

following boarding until the moment when one external door is opened to allow passengers to

disembark. See id. § 46501(1)(A).
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                   FACTUAL BASIS SUPPORTING PROBABLE CAUSE


        10.    On April 17,2019,the defendant, DAVID POTTER,a citizen of England

traveling on a British passport, was a passenger on United Airlines flight #5, which was intended

to fly nonstop from Houston, Texas,to London, England. P.W. was the captain ofthe flight.

        11.    According to a report filed by P.W.,approximately one hour and thirty minutes

into the flight, the pilots were informed by the senior flight attendant, P.M., that the passenger in

seat 29J,POTTER,was causing a disturbance in the cabin.

        12.    At some point thereafter, F.M. told the pilots that POTTER,who appeared to be

intoxicated, had been verbally abusive toward him and other flight attendants. P.W. advised

P.M. to ask another flight attendant to attempt to calm POTTER down. At this point, the pilots

began preparing for the possibility that they would have to divert the aircraft, a process that

includes identifying an airport at which the aircraft could land if need be, coordinating with air

traffic controllers on the ground, and communicating with United Airlines dispatchers, all of

which takes time and distracts the pilots from their primaryjob offlying the aircraft.

        13.    Thereafter, P.M. called back to confirm POTTER'S abusive behavior, at which

point P.W. declared a Level 1 security threat.

        14.    Some amount oftime later P.M. again called back, stating that POTTER'S

behavior was not improving and that another passenger sitting next to POTTER had been moved

because POTTER was touching her. POTTER'S behavior was alarming enough that the flight

crew solicited able-bodied passengers to standby in the event that their assistance in subduing

POTTER were to become necessary.

        15.     Eventually, it was determined that the flight needed to be diverted to Dulles

Airport. Because the aircraft would be landing far earlier than planned, it was too heavy to land
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safely withoutjettisoning some ofits fuel. Accordingly, the aircraft dumped approximately

6,000 pounds offuel before landing at Dulles Airport at approximately 12:00 a.m. on April 18,

2019.


        16.    The aircraft was met by officers fi-om the Metropolitan Washington Airports

Authority Police Department(the"MWAA")and U.S. Customs and Border Protection. As

POTTER was being escorted from the aircraft, he was visibly upset and yelling at members of

the flight crew. An MWAA officer detected a strong odor of alcohol emanating from POTTER

who,the officer reported, could not walk without assistance on account of his level of

intoxication. The same officer spoke briefly with members ofthe flight crew who said that

POTTER had become irate when his seat assignment was not upgraded. The flight crew

members further said that POTTER was belligerent and abusive and refused to follow their

commands.


        17.    POTTER was placed under arrest for public intoxication. He was taken to the

Loudoun County Adult Detention Center where he was ordered held until sober.

        18.    Approximately one hour after it landed, and after refueling. United Airlines flight

#5 took off, resuming its trip to London.

        19.    On April 18, 2019, after having regained his sobriety, POTTER waived his

Miranda rights, both orally and in writing, and consented to an interview during which I asked

him what he had had to drink the night before. Although POTTER did not think that he had

caused a disturbance on the flight, and despite den)dng that he touched any female passengers, he

admitted that he had consumed four margaritas before boarding and imbibed two more drinks

onboard the aircraft.
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       20.     I have been informed by United Airlines' corporate security division that

POTTER will be banned for life from flying with United Airlines.

                                          CONCLUSION


       21.     Based on the foregoing, there is probable cause to believe that on or about April

17, 2019,the defendant, DAVID POTTER,on an aircraft in the special aircraftjurisdiction of

the United States—^namely. United Airlines flight #5, which was en route to London,England,

from Houston, Texas, but which was diverted to Washington Dulles International Airport in

Loudoun County, Virginia, within the Eastern District of Virginia—did knowingly interfere and

attempt to interfere with the performance ofthe duties ofthe aircraft's flight attendants,

including P.M., and lessen the flight attendants' ability to perform their duties as flight

attendants, by intimidating, disrupting, verbally abusing, and willfully ignoring the lawful

commands ofthe flight attendants, as well as by engaging in the inappropriate touching of

another passenger, in violation of49 U.S.C. § 46504.




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                                       Special Agei
                                       Federal Bureau ofInvestigation


Subscribed and swom to before me this /iq"^
                                        / day Apnl,2019.
                                                                      Isl
                                                  Thp'-pga narroll Buchanan
                                                  United States Magistrate Judge

                                       The Honorable Theresa Carroll Buchanan
                                       United States Magistrate Judge
